PIERSON &amp; COMPANY, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Pierson &amp; Co. v. CommissionerDocket No. 21340.United States Board of Tax Appeals12 B.T.A. 678; 1928 BTA LEXIS 3481; June 18, 1928, Promulgated *3481  Collection of deficiency for 1917 held barred by the statute of limitations.  Lyle T. Alverson, Esq., for the petitioner.  Frank S. Easby-Smith, Esq., for the respondent.  ARUNDELL*678  The petitioner seeks a redetermination of a deficiency in income and profits taxes for the calendar year 1917 in the amount of $43,097.74.  At the hearing a stipulation was filed upon which we are to determine whether collection of the deficiency is barred.  FINDINGS OF FACT.  On or about March 28, 1918, the petitioner filed a return of its income and invested capital of 1917.  Said return was not false or fraudulent with intent to evade tax.  On or about March 26, 1923, the Commissioner duly assessed against the petitioner additional 1917 taxes alleged to be due in the sum of $82,881.93.  No part of such additional taxes was paid, but on or about April 5, 1923, the petitioner duly filed claim for abatement of the full amount of the additional taxes so assessed.  On September 21, 1926, the commissioner finally determined to reject said claim for $43,097.74 and to allow the said claim for $39,784.19.  Notice of said final determination was mailed*3482  to the taxpayer by registered mail on September 21, 1926.  *679  On or about November 8, 1926, the petitioner duly filed its petition with the United States Board of Tax Appeals, appealing from said determination to reject said claim in part as aforesaid.  No waiver of any rights given to the petitioner by any of the several statutes of limitation relating to assessment and/or collection of 1917 income or profits taxes, and no agreement in writing concerning the same has ever been made or signed by the petitioner.  No proceeding in court for the collection of all or any part of such taxes has ever been begun.  No bond to stay the collection of taxes for 1917 has ever been filed by the petitioner.  OPINION.  ARUNDELL: The facts in this case are on all fours with those in the case of the , in which, on the authority of , we held that collection of 1917 taxes was barred.  See also *3483 . Judgment of no deficiency will be entered.